            Case 6:21-cv-00757-ADA Document 56 Filed 12/01/22 Page 1 of 4



                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

PALTALK HOLDINGS, INC.,                             §
                                                    §
                   Plaintiff                        §
                                                    §
vs.                                                 §    No. 6:21-cv-00757-ADA
                                                    §
CISCO SYSTEMS, INC.,                                §    JURY TRIAL DEMANDED
                                                    §
                   Defendant.                       §



DECLARATION OF ELISE EDLIN IN SUPPORT OF DEFENDANT CISCO SYSTEMS,
    INC.’S MOTION TO EXCLUDE PORTIONS OF EXPERT TESTIMONY BY
             MR. WALTER BRATIC AND DR. SCOTT SCHAEFER


       I, Elise Edlin, hereby declare as follows:

       1.       I make this declaration of my own personal knowledge, and if compelled to testify,

I could and would competently testify thereto. I am an attorney at Perkins Coie LLP, counsel for

Defendant Cisco Systems Inc. (“Cisco”). This declaration is submitted in support of Cisco’s

Motion to Exclude Portions of Expert Testimony by Mr. Walter Bratic and Dr. Scott Schaefer.

       2.       Attached as Exhibit 1 is a true and correct copy of excerpts of the Expert Report

of Walter Bratic, dated September 29, 2022. This document is designated Restricted - Outside

Attorneys’ Eyes Only.

       3.       Attached as Exhibit 2 is a true and correct copy of excerpts of the Expert Report

of Dr. Scott Schaefer Regarding Infringement, dated September 29, 2022. This document is

designated Restricted - Outside Attorneys’ Eyes Only.

       4.       Attached as Exhibit 3 is a true and correct copy of “Webex Audio Supported

Platforms and Services,” dated March 17, 2022, available at https://help.webex.com/en-

us/article/nc66g2h/Webex-Audio-Support.

       5.       Attached as Exhibit 4 is a true and correct copy of excerpts of Walter Bratic’s
                                                -1-
            Case 6:21-cv-00757-ADA Document 56 Filed 12/01/22 Page 2 of 4




deposition transcript, dated November 17, 2022. This document is designated Restricted - Outside

Attorneys’ Eyes Only.

       6.       Attached as Exhibit 5 is a true and correct copy of excerpts of Scott Schaefer,

Ph.D.’s deposition transcript, dated November 9, 2022. This document is designated Restricted -

Outside Attorneys’ Eyes Only.

       7.       Attached as Exhibit 6 is a true and correct copy of excerpts of Amit Barave’s

deposition transcript, dated October 11, 2022. This document is designated Restricted - Outside

Attorneys’ Eyes Only.

       8.       Attached as Exhibit 7 is a true and correct copy of “Webex Audio? Sounds good,”

available at https://hardware.webex.com/use-cases/webex-audio

       9.       Attached as Exhibit 8 is a true and correct copy of an Excel spreadsheet bearing

Bates number CISCO-PAL-00003157.            This document is designated Restricted - Outside

Attorneys’ Eyes Only.

       10.      Attached as Exhibit 9 is a true and correct copy of excerpts of a document titled

“Zoom Compete Sales & Marketing Plan” bearing Bates number CISCO-PAL-00000714. This

document is designated Restricted - Outside Attorneys’ Eyes Only.

       11.      Attached as Exhibit 10 is a true and correct copy of a “Patent Purchase and License

Agreement” (the Webex Communications/NCR Corporation Purchase and License Agreement

(“NCR Agreement”)), bearing Bates number CISCO-PAL-00003856.                   This document is

designated Restricted - Outside Attorneys’ Eyes Only.

       12.      Attached as Exhibit 11 is a true and correct copy of “Webex Communications,

Inc.’s Form 10-K for fiscal year ended December 31, 2001,” available at https://sec.report/Docu

ment/0001012870-02-001539/.

       13.      Attached as Exhibit 12 is a true and correct copy of “Webex Communications,

                                                -2-
         Case 6:21-cv-00757-ADA Document 56 Filed 12/01/22 Page 3 of 4




Inc.’s Form 10-K for fiscal year ended December 31, 2003,” available at https://sec.report/Docu

ment/0001109935-04-000006/.

       14.    Attached as Exhibit 13 is a true and correct copy of “Webex Communications,

Inc.’s Form 10-K for fiscal year ended December 31, 2004,” available at https://sec.report/Docu

ment/0001109935-05-000032/.

       15.    Attached as Exhibit 14 is a true and correct copy of Webex Mediatone, “The ‘Dial

Tone’ for Web Communications Services,” bearing Bates numbers CISCO-PAL-00003858.

       16.    Attached as Exhibit 15 is a true and correct copy of “Cisco WebEx Meeting Center

Video Conferencing” data sheet, available at https://www.cisco.com/c/dam/global/en_au/solutio

ns/small-business/pdfs/datasheet-c78-734100.pdf.

       17.    Attached as Exhibit 16 is a true and correct copy of “Cisco WebEx Meetings Audio

PSTN    Coverage     for   Cisco    Collaboration    Flex   Plan”   data   sheet,   available   at

https://www.cisco.com/c/dam/en/us/products/collateral/conferencing/webex-meeting-

center/cisco_webex_gpl_audio.pdf.

       18.    Attached as Exhibit 17 is a true and correct copy of “Cisco Webex vs. Microsoft

Teams,” bearing Bates number CISCO-PAL-00001351. This document is designated Restricted -

Outside Attorneys’ Eyes Only.

       19.    Attached as Exhibit 18 is a true and correct copy of “Webex Suite, The first best-

of-breed suite for hybrid work,” bearing Bates number CISCO-PAL-00001223. This document is

designated Restricted - Outside Attorneys’ Eyes Only.

       20.    Attached as Exhibit 19 is a true and correct copy of “5 reasons more companies

choose Webex,” bearing Bates number CISCO-PAL-00000662.

       21.    Attached as Exhibit 20 is a true and correct copy of “Cisco Systems, Inc.’s Form

10-K for the fiscal year ended July 31, 2021,” bearing Bates number CISCO-PAL-00001395.

                                               -3-
         Case 6:21-cv-00757-ADA Document 56 Filed 12/01/22 Page 4 of 4




       I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true

and correct to the best of my current knowledge.

       Executed this 1st day of December, 2022 in Oakland, California.

                                                    /s/ Elise Edlin
                                                        Elise Edlin




                                              -4-
